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                                  UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF LOUISIANA


BLAIR IMANI, ET AL.                                                                CIVIL ACTION

VERSUS
                                                                                   NO. 17-439-JWD-EWD
CITY OF BATON
ROUGE, ET AL.
                                                      ORDER

         In light of the Court’s Order1, the previously issued scheduling order is hereby amended

as follows:2

         1.       The deadline to join other parties or to file a motion for leave to amend the pleadings
                  is EXPIRED.

         2.       Discovery must be completed as follows:

                  a.       Exchanging initial disclosures required by F.R.C.P. 26(a)(1): N/A

                  b.       Filing all discovery motions and completing all discovery except experts:
                           August 16, 2021

                  NOTE: Any motions filed regarding discovery must be accompanied by a
                  certificate of counsel for the moving party, stating that counsel have conferred in
                  person or by telephone for purposes of amicably resolving the issues and stating
                  why they are unable to agree or stating that opposing counsel has refused to so
                  confer after reasonable notice.

                  c.       Disclosure of identities and resumés of experts: EXPIRED

                  d.       Expert reports must be submitted to opposing parties as follows: EXPIRED

                  e.       Discovery from experts must be completed by August 30, 2021.

         3.       Deadline to file dispositive motions and Daubert motions: September 15, 2021

         4.       Deadline to file pre-trial order: January 5, 20222


1
  R. Doc. 262.
2
  Prior deadlines are restated here for ease of reference unless expired. All new deadlines are indicated in bold type.
2
  Motions to extend or otherwise modify this date and the dates/deadlines that follow shall be directed to the district
judge.


Jury
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                Prior to the filing of the pretrial order, the parties will exchange or make available
                for inspection all exhibits which the parties will or may introduce at trial.

        5.      Deadline to file motions in limine: February 2, 2022. Responses to motions in
                limine shall be filed within the time period provided by the local rules.

        6.      Deadline to file an affidavit of settlement efforts: February 16, 2022

        7.      Pre-trial conference date: January 20, 2022 at 2:30 p.m. in the chambers of the
                Honorable John W. deGravelles.

        8.      Deadline to submit joint jury instructions, voir dire, verdict forms, and trial briefs
                to the presiding judge: March 9, 2022

                The information regarding the Honorable John W. deGravelles’ pretrial order may
                be found on the court's website at (http://www.lamd.uscourts.gov) under “Judges’
                Info.”

        9.      A 5-day jury trial is scheduled for 9:00 a.m. beginning on March 28, 2022 in
                Courtroom 1.

        The time limits set forth in this order shall not be modified except by leave of court upon

a showing of good cause. Joint, agreed or unopposed motions to extend scheduling order deadlines

will not be granted automatically. All motions to extend scheduling order deadlines must be

supported by facts sufficient to find good cause as required by Rule 16, Fed.R.Civ.P. Extensions

of deadlines governing discovery must be supported with information describing the discovery

already completed, what necessary discovery remains, the parties’ efforts to complete the

remaining discovery by the deadline, and any additional information showing that the parties have

diligently pursued their discovery. Further, a motion to extend any deadline set by this Order must

be filed before its expiration.

        Pursuant to Local Civil Rule 16(c), whenever a civil case is settled or otherwise disposed

of, counsel shall immediately file a Joint Notice of Settlement, signed by counsel for Plaintiff, into
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the record. Additionally, counsel shall immediately inform the Clerk's office, the Judge to whom

the case is assigned, and shall comply with LR45(b) relative to all persons subpoenaed as

witnesses. If a civil case is settled as to fewer than all of the parties or all of the claims, the Joint

Notice shall also set forth the remaining parties and unsettled claims. The Joint Notice may also

include a request for a conditional order of dismissal, allowing for reinstatement of the matter if

the settlement is not consummated within the time stated in the order of dismissal.

        Parties are directed to consult the Middle District’s Administrative Procedures which

contains additional mandatory filing rules and procedures. The Administrative Procedures are

available for viewing and download on the court’s website (http://www.lamd.uscourts.gov) under

“E-Filing,” “CM/ECF Info,” “Administrative Procedures.”

        Signed in Baton Rouge, Louisiana, on June 24, 2021.


                                                S
                                                ERIN WILDER-DOOMES
                                                UNITED STATES MAGISTRATE JUDGE
